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CyberTipline Report 87555105

Priority Level: E
(Report submitted by a registered Electronic Service Provider)

Received by NCMEC on 03-11-2021 23:45:43 UTC
All dates are displayed as MM-DD-YYYY
Except for times provided in Additional Information sections, all time zones are displayed in UTC

 

Executive Summary

The following is a brief overview of information contained in this CyberTipline report:

Incident Type: Apparent Child Pornography

NCMEC Incident Type is based on NCMEC's review of the report OR a "Hash Match" of one or more uploaded files. NCMEC may not have viewed all
uploaded files submitted by the reporting ESP.

Total Uploaded Files: 6

 

The National Center for Missing & Exploited Children (NCMEC) was incorporated in 1984 by child advocates as a private, non-profit
501(c)(3) organization to serve as a national clearinghouse and resource center for families, victims, private organizations, law
enforcement, and the public on missing and sexually exploited child issues. To further our mission to help find missing children, reduce
child sexual exploitation, and prevent future victimization, NCMEC operates the CyberTipline and Child Victim Identification Program.
NCMEC makes information submitted to the CyberTipline and Child Victim Identification Program available to law enforcement and
also uses this information to help identify trends and create child safety and prevention messages. As a clearinghouse, NCMEC also
works with Electronic Service Providers, law enforcement and the public in a combined effort to reduce online child sexual abuse
images. NCMEC performs its programs of work pursuant to its own private mission and independent business operations. NCMEC
does not act in the capacity of or under the direction or control of the government or law enforcement agencies. NCMEC does not
investigate and cannot verify the accuracy of the information submitted by reporting parties.

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This Report is provided solely for informational purposes pursuant to NCMEC’'s nonprofit mission.
Please treat all information in this Report as confidential.

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Section A: Reported Information

 

 

The following information was submitted to the CyberTipline by the Reporting Person or Reporting ESP. The information appearing in
Section A is information received in the original submission. The reporting of information in Section A, other than the "Incident Type"
and "Incident Time," is voluntary and undertaken at the initiative of the Reporting Person or Reporting ESP.

 

 

Submitter:
Dropbox, Inc.
Dropbox Legal Team

Business Address:
1800 Owens St

Reporting Electronic Service Provider (ESP)

San Francisco, CA 94158 United States

Relevant Terms of Service

https://www.dropbox.com/acceptable_use

Incident Type:
Incident Time:
Description of Incident Time:

Email Address:
Screen/User Name:
ESP User ID:

IP Address:

IP Address:
IP Address:
IP Address:
IP Address:
IP Address:
IP Address:

IP Address:

Incident Information

Child Pornography (possession, manufacture, and distribution)

03-10-2021 23:45:42 UTC

Point of Contact for Law Enforcement:

https://d|.dropboxusercontent.com/s/1x9ky01g3r1eqw5/Infor
mation_for_Law_Enforcement.pdf?dl=0

The incidentDateTime is set to 24 hours before the report was sent from Dropbox to NCMEC.
For example, if we submit a report on "3/14/17 13:30", we will set the the incidentDateTime to

"3/13/17 13:30

Suspect

GE @ gmail.com (Verified 07-20-2016 16:46:42 UTC)

James Meek
175347364

108.48.16.21 (Login)
06-16-2020 04:36:05 UTC

72.66.13.128 (Login)
08-04-2020 18:40:38 UTC

72.66.13.128 (Login)
08-05-2020 23:31:05 UTC

72.66.13.128 (Login)
08-17-2020 16:52:18 UTC

72.66.13.128 (Login)
09-11-2020 15:03:14 UTC

72.66.13.128 (Login)
09-29-2020 15:29:57 UTC

72.66.13.128 (Login)
10-01-2020 14:43:29 UTC

72.66.13.128 (Login)
10-08-2020 21:21:31 UTC

 

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IP Address: 72.66.13.128 (Login)
11-02-2020 22:19:15 UTC
IP Address: 72.66.13.128 (Login)
11-26-2020 16:01:31 UTC
IP Address: 72.66.13.128 (Login)
01-10-2021 21:23:34 UTC
IP Address: 72.66.13.128 (Login)

02-16-2021 20:32:27 UTC
Additional Information Submitted by the Reporting ESP

Dropbox records are kept in GMT unless otherwise noted.

Uploaded File Information

Number of uploaded files: 6

Uploaded File Information

Filename:

MD5:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

Image Categorization by ESP:
(See Section B for further explanation)

Video Feb 18, 4 32 16 AM.mp4
d0d19326966d6560435b5a9bd27ce644
Yes

(Information Not Provided by Company)
Yes

Yes

Al

Uploaded File Information

Filename:

MDS:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

Image Categorization by ESP:
(See Section B for further explanation)

Video 27-05-2018, 8 41 20 PM.mov
6022bcf1ab5d49a57 3fcb828983fd787
Yes

(Information Not Provided by Company)
Yes

Yes

Al

Uploaded File Information

Filename:

MD5:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?

Video 22-09-2018, 12 10 47 PM.mp4
5390c965e264ed630f52beb24 1e7efff
Yes

(Information Not Provided by Company)

 

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Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

Image Categorization by ESP:
(See Section B for further explanation)

Yes
Yes
Al

Uploaded File Information

Filename:

MD5:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

uploadlog.csv
d00c6da8bf0483b772c91eb622c2beb7
Yes

(Information Not Provided by Company)
No

Yes

Uploaded File Information

Filename:

MD5:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

Image Categorization by ESP:
(See Section B for further explanation)

072omstjb_4.wmv
67c404024557adb56c47a3e74fa6e135
Yes

(Information Not Provided by Company)
Yes

Yes

B1

Uploaded File Information

Filename:

MD5:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

Image Categorization by ESP:
(See Section B for further explanation)

Sex kids-07.mp4
a8011a148e7a3422187a0bd94837d062
Yes

(Information Not Provided by Company)
Yes

Yes

Al

This concludes Section A. All of the information in this section was submitted electronically to the CyberTipline by the Reporting Person,
NCMEC Call Center or Reporting ESP. The information appearing in Section A is information received in the original submission. The
reporting of information in Section A, other than the "Incident Type" and "Incident Time," is voluntary and undertaken at the initiative of

the Reporting Person or Reporting ESP.

 

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Section B: Automated Information Added by NCMEC Systems

 

 

Upon receipt of a CyberTipline report, NCMEC Systems may conduct automated processes on the information submitted in Section A.
The information found in Section B of this CyberTipline Report has been automatically generated by NCMEC Systems. If the
CyberTipline Report was submitted by a member of the public, Section B will be blank.

 

 

 

Explanation of Automated Information (in alphabetical order)

Geo-Lookup: When a Reporting ESP voluntarily reports an IP address for the "Suspect," NCMEC Systems will geographically resolve
the IP address via a publicly-available online query. The results of this lookup are displayed.

Geolocation data is approximate and may not display a user's exact location. Please be aware that the geolocation information provided
is not exact but is providing a reliable estimate of location based on IP address(es) voluntarily provided by the reporting ESP.

Further Information on Uploaded Files
Number of uploaded files in each categorization category:

At: 4
B1: 1

The following categorization system was created by various ESPs in January 2014:

A

 

 

 

 

 

 

 

Prepubescent Minor Al A2
B_ | Pubescent Minor B1 B2
1 Sex Act Any image of sexually explicit conduct (actual or simulated sexual

intercourse including genital-genital, oral-genital, anal-genital, or oral-anal
whether between person of the same or opposite sex), bestiality,
masturbation, sadistic or masochistic abuse, degradation, or any such
depiction that lacks serious literary, artistic, political, or scientific value.

 

Z Lascivious Exhibition Any image depicting nudity and one or more of: restraint, sexually
suggestive poses, focus on genitals, inappropriate touching, adult arousal,
spreading of limbs or genitals, and such depiction lacks serious literary,
artistic, political, or scientific value.

 

 

 

 

 

Uploaded File Information

File Tag(s): NCMEC staff have not opened or viewed the uploaded files in this CyberTipline report that are listed below and designated
as "Hash Match." The "Hash Match" designation indicates that the uploaded file matches the hash value of an uploaded file from a
CyberTipline report that was previously viewed and categorized by NCMEC at the time this report was generated.

Was listed file(s) viewed by NCMEC staff? No

Does listed file(s) match file previously viewed and categorized from a CyberTipline report? Yes

 

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Filename

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Files and Categorization

 

MD5 Categorization
Video 27-05-2018, 8 41 20 PM.mov 6022bcf1ab5d49a573fcb828983Ffd787 Apparent Child Pornography
Video 22-09-2018, 12 10 47 PM.mp4 5390c965e264ed630f52beb241e7ef ff

Sex kids-07.mp4

IP Address

108.48.16.21

74.66.13.128

a8011a148e7a3422187a0bd94837d062

Geo-Lookup (Suspect)

Country Region City Metro Area Postal Area Lat/Long
Code Code

US VA Arlington Washington, 22204 38.8574/ -
be 77.1
(Hagerstown
)

US: VA Arlington Washington, 22204 38.8574/ -
be Tied
(Hagerstown
)

This concludes Section B

Apparent Child Pornography
Apparent Child Pornography

ISP/Org

Verizon Fios/ Verizon
Fios

Verizon Fios/ Verizon
Fios

 

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Section C: Additional Information Provided by NCMEC

 

Section C contains information collected by NCMEC staff based on the information electronically submitted by the Reporting Person,
NCMEC Call Center or Reporting ESP. Section C may contain a variety of additional information, including data gathered from queries
on publicly-available, open-source websites. Any queries conducted by NCMEC staff will be documented and any query results will be
saved to the electronic filing system when possible. The CyberTipline cannot confirm the accuracy of information found in public
records or whether the results are affiliated with any parties relating to this report.

 

 

 

NCMEC Priority Level: E (Report submitted by a registered Electronic Service Provider)
NCMEC Classification*: Apparent Child Pornography

International Country: United States

NCMEC Date Processed: 04-05-2021 17:16:47 UTC

Made Available to Law Enforcement by NCMEC: Yes

NCMEC Classification is based on NCMEC's review of the report OR a "Hash Match" of one or more uploaded files. NCMEC may not have viewed all
uploaded files submitted by the reporting ESP.

NCMEC Note #1

ECD-SE 04-05-2021 17:16:47 UTC

CT/TA for reported identifiers yielded negative or irrelevant results.

This report has been sent to the VA State Police ICAC based on the IP address of the reported suspect.

Uploaded File Information

Files Viewed by NCMEC:

NCMEC staff have viewed the following uploaded files which have been previously viewed and categorized by NCMEC at the time this
report was generated.

Files Viewed by NCMEC

 

Filename MD5 Categorization
Video Feb 18, 4 32 16 AM.mp4 d0d19326966d6560435b5a9bd27ce644 Apparent Child Pornography
0720mstib_4.wmv 67¢404024557adb56c47a3e74fa6e135 CP (Unconfirmed)

Files Not Viewed by NCMEC:

NCMEC staff have not viewed the following uploaded files submitted with this report and have no information concerning the content of
the uploaded files other than information voluntarily provided in the report by the reporting ESP.

Files Not Viewed by NCMEC

Filename MD5
uploadlog.csv d00c6da8bf0483b772c91eb622c2beb7

 

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This concludes Section C

 

If you need further information regarding the contents of this Report, please contact the CyberTipline at ecuassistance@ncmec.org
or 1-877-446-2632, ext. 6702.

For more information regarding images containing identified child victims, please contact the Child Victim Identification Program
(CVIP) at cvip@ncmec.org.

 

 

 

This report contains ESP provided metadata information for one or more uploaded files.

For reports received through IDS, any metadata information provided separately by the ESP may be viewed by accessing
‘Case Information’ and viewing the 'Raw CyberTip Details’ of the report.

For reports received through the CyberTip Downloader, any metadata information provided separately by the ESP may be viewed by
accessing the 'Report Summary’ page and clicking on 'Uploaded by ESP". Files with metadata information provided separately by the
ESP will display 'Metadata’' with a 'View' option. Clicking on 'View' will display the available metadata in a new window.

Additionally, metadata information provided separately by the ESP may be viewed by accessing the XML file and viewing the
espMetadata section of the report.

 

 

 

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Section D: Law Enforcement Contact Information

 

 

The report was made available to the Law Enforcement Agency listed below.

 

 

Investigator:

Assigned Officer:
Title:

City/State:
Country:

Phone Number:
Email Address:

Virginia State Police

Access VPN
Captain Alan Worsham
Fairfax, VA
United States
804-674-2696
@vsp.virginia.gov, vsp. Virginia.gov ©VSp.Vvirginia
gov @vsp.virginia.gov, fi. vsp.virginia.gov

Time/Date was made available: 04-05-2021 17:16:47 UTC

This concludes Section D

This concludes CyberTipline Report 87555105

 

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US-00000857
